Case 1:16-cv-00453-RGA Document 84 Filed 03/17/17 Page 1 of 5 PagelD #: 6986

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

ACCELERATION BAY LLC, a Delaware
Limited Liability Corporation,

Plaintiff

V. C.A. No. 16-453-RGA

ACTIVISION BLIZZARD, INC., PUBLIC VERSION

a Delaware Corporation,

Defendant.

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DECLARATION OF NENAD MEDVIDOVIC IN SUPPORT OF ACCELERATION
BAY’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS

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Dated: March 6, 2017
Public Version dated: March 17, 2017
Case 1:16-cv-00453-RGA Document 84 Filed 03/17/17 Page 2 of 5 PagelD #: 6987

I, Nenad Medvidovié, declare as follows:

1. I have personal knowledge of the facts stated herein and can testify competently
to those facts. I make this declaration in support of Acceleration Bay’s Answering Brief in
Opposition to Defendant’s Motion to Dismiss.

2. I received a Bachelor of Science (“BS”) degree, Summa Cum Laude, from
Arizona State University’s Computer Science and Engineering department. I received a Master
of Science (“MS”) degree from the University of California at Irvine’s Information and
Computer Science department. I received a Doctor of Philosophy (“PhD”) degree from the
University of California at Irvine’s Information and Computer Science department. My
dissertation was entitled, “Architecture-Based Specification-Time Software Evolution.”

3, I am a Professor of Computer Science at the University of Southern California
(“USC”) and an expert in the field of computer science, including software and distributed
systems architecture. Between January, 2009 and January 2013, I served as the Director of the
Center for Systems and Software Engineering at USC. Between July, 2011 and July 2015, I
served as my Department’s Associate Chair for PhD Affairs. Between October 2013 and
September 2015, I served as the Chair of the Steering Committee for the flagship conference in
my field, the International Conference on Software Engineering (ICSE). Since July 2015, I have
served as the Chair of the Association for Computing Machinery’s Special Interest Group on
Software Engineering (ACM SIGSOFT), the largest professional organization in my field.

4, I teach graduate and undergraduate courses in Software Architecture, Software
Engineering, Software Modeling, and Embedded Systems, and advise PhD students. I have

graduated 15 PhD students and advise 7 students currently pursuing a PhD.
Case 1:16-cv-00453-RGA Document 84 Filed 03/17/17 Page 3 of 5 PagelD #: 6988

5. I have authored or co-authored over 200 papers in the Software Engineering field.
My most cited paper has been cited over 2,400 times. I co-authored a paper presented at the
1998 ICSE, my field’s flagship conference, that the conference’s program and steering
committees ten years later recognized with the ICSE Most Influential Paper Award.

6. A copy of my curriculum vitae is attached hereto as Exhibit A to this declaration.
Research Conducted Prior to Filing of 2015 Case

7. Prior to filing suit against Activision, Acceleration Bay retained me to investigate
if Activision’s accused Call of Duty (“CoD”), World of Warcraft (“WoW”) and Destiny products
(the “Accused Products”) infringe the following patents: U.S. Patent Nos. 6,701,344, 6,714,966,
6,732,147, 6,829,634, 6,910,069 and 6,920,497, (the “Asserted Patents’).

8. To conduct this assignment, I reviewed the Asserted Patents, conferred with
Acceleration Bay’s counsel, reviewed the publicly available information, including technical
literature, and researched the Accused Products. I ultimately concluded that Activision’s

Accused Products infringe the Asserted Patents.

10. Based on my investigation, it is my opinion that the Accused Products infringe

Acceleration Bay’s asserted patents.
Case 1:16-cv-00453-RGA Document 84 Filed 03/17/17 Page 4 of 5 PagelD #: 6989

Discovery in the 2015 Case
11. Since Acceleration Bay filed suit against Activision in 2015 (the “2015 Case”), I
have been involved with Acceleration Bay’s discovery into the operation of the Accused

Products.

12. [have reviewed source code for both the accused CoD and WoW products. |]

13. My review of the source code for CoD and Wow reconfirmed my opinion that the
Accused Products infringe. For both products, I identified source code modules relevant to my

infringement analysis and requested that these be printed. These source code modules were the

focus of questioning during the subsequent depositions (iii i it:

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15. As another example of my ongoing investigation, I reviewed publicly available
documentation on the Joe’s Automated Messages (“JAM”) used in WoW. My PhD dissertation
was on JAM-type messaging systems, and I subsequently spent roughly over 18 years
researching these types of messaging systems. Six of my PhD students received their doctorates
studying related issues, including four of the last five. A message-based system, such as JAM,
helps to decouple distributed architectures (and make them, in a sense, decentralized — i.e., to
allow them to support multiple disparate agencies/ownership domains) and can be used to
support flexible connection, disconnection, communication (e.g., among peers), as well as

computing work load distribution.
Case 1:16-cv-00453-RGA Document 84 Filed 03/17/17 Page 5 of 5 PagelD #: 6990

16.

 

 

 

I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct. Executed on March 3™, 2017 in Manhattan Beach, CA.

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Nenad Medvidovié

 
